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UNITED srATEs DISTRICT coURT 6

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STEVEN C. ARGENTO, individually and
d/b/a S.C. FINE ARTS,

Plaintift`,

v. Case No. l 6-CV-6l 72-'FPG-MWP

MARILYN sAN'rIAGo, FOR THE LovE
0F RAMoN LLc, ALL THAT JAzz,
RocHEs'rER, LLC, Acr Two HOMB
sTAGING, AND JoHN r)oEs 1 To 10.

Defendants.

 

 

RESPONSE OF THE ACTING REGISTER OF COPYRIGH'I`S
TO REOUI_§,ST I’URSUANT TO 17 U.S.C. 3 411(b)(2)

On December 19, 2017, pursuant to 17 U.S.C. § 411(b)(2), the Court requested advice from the
Acting Register of Copyrights (the “Acting Register”)l by February 5, 2018, on the following
question (the “Request”):

Would the Register of Copyrights have rejected Plaintift"s Registration No. VA 1-
990-174 for graphic art (“Santiago Family Crest,” filed February 16, 2016) had it
known that Plaintiff had falsely claimed to be the work’s author on his copyright
registration application, when in fact another individual had created the work
roughly a decade before the creation date listed on Plaintiff’ s applic:».ltion?2

The Acting Register hereby submits her response
BACKGROUND

A review of the Copyright Offrce’s records shows the following:

 

' 'l`he Librarian of Congress appointed Karyn Temple Claggett to the position of Acting Register of Copyrights on
October 21, 2016. See U.S. COPVRIGHT OFFlCE, About Us, https://www.copyright.gov/about/leadership/ (last visited
December 26, 2017).

2 Req. to the Register of Copyrights Pursuant to 17 U.S.C. § 4ll(b)(2) 2, ECF No. 45.

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On February 16, 2016, the U.S. Copyright Office (“Copyright Oft'ice” or “Office”) received an
application to register a graphic art titled “Santiago Family Crest,” also referred to as “the
stylized ‘R.’” The application identified Steven C. Argento as the author. The application stated
that the work was created in 2002 and first published on Septernber 1, 2002. The Ofiice
registered the work with an effective date of registration (“EDR”)3 of February 16, 2016, and
assigned registration number VA 1-990-174. Based on the information provided in the
application, the Oftice had no reason to question the representations in the application and
accepted them as true and accurate4

In the Order accompanying the Request, the Court found:

Plaintiff included inaccurate information concerning the authorship of the stylized
“R” on his copyright application with the knowledge that it was inaccurate . . . As
Ramén Santiago had actually created the “R” and had been using it since at least
1993, Plaintiii" surely knew that listing himself as the author of the “R” and the
creation date as 2002 on the copyright registration application were inaccurate
representations Plaintiff has not rebutted Defendant’s version of the facts, and in

any event, the Court cannot devise any alternative explanation that Plaintiff could
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give.

The Court requests the Acting Register to consider whethcr, given this information, the Oftice
would have refused to register the claim.

ANALYSIS

An application for copyright registration must comply with the requirements of the Copyright
Act set forth in 17 U.S.C. §§ 408(a), 409, and 410, Regulations governing applications for
registration are codified in title 37 of the Code of Federal Regulations at 37 C.F.R. §§ 202.1 to
202.21. The principles that govern how the Oftice examines registration applications are found
in the Compendium of U.S. Copyright OJYice Practz`ces, Third Edition (“Compendium”). The
statutory requirements, rcgulations, and Compendium practices most relevant to the Court’s
request are as follows:

 

3 The EDR is the date that the Oftice received a completed application, the correct deposit copy, and the proper
filing fee.

4 The principles that govern how the Oi`fice examines registration applications are found in the Compendium of U.S.
Copyright Ojj'ice Practices, Third Edition, which is "'an administrative manual” that “explains many of the practices
and procedures concerning the Ofiice’s mandate and statutory duties under title 17 of the United States Codc." 37
C.F.IL § 201.2(b)(7). Gne such principle is that the Ofiice generally “accepts the facts stated in the registration
materials, unless they are contradicted by information provided elsewhere in the registration materials or in the
Oft`ice’s records.” U.S. Co?\'mGt-n' OFi=lcr-:, CoMPENr)!uM OF U.S CoPYRlGHr Oi=rlct-: PRAcricEs § 602.4(€) (3d. ed.
2017). Additionally, “the Office does not conduct investigations or make findings of fact to confirm the truth of any
statement made in an application . . . .” Id.

’ Decision and order 7-8, EcF No. 44.

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I. Relevant Statutes, Regulations and, Agency Practices

In pertinent part, under the Copyn`ght Act, an application must include, “in the case of a work
other than an anonymous or pseudonymous work, the name and nationality or domicile of the
author or authors . . . .”6 As the Compendium explains, “[a]n author is either (i) the person or
persons who created the work, or (ii) the employer or other person for whom the work was
prepared, if the work was created during the course of employment or commissioned as a work
made for hire.”7

The Copyright Office’s regulations require applicants to make “[a] declaration that information
provided within the application is correct to the best of [the applicant’s] knowledge . . . .”8
Generally, the Oftice “accepts the facts stated in the registration materials, unless they are

contradicted by information provided elsewhere in the registration materials or in the Office’s
539
records.

II. Acting Registcr’s Assessment of the Alleged Inaccuracy’s Materiality

In responding to the Court’s question, the Office applies the foregoing governing statutory and
regulatory standards, and examining principles

Based on the foregoing governing statutory and regulatory standards, and its examining practices,
had the Oftice been aware, prior to registration, that the stylized “R” was incorporated into
artwork by Ram<')n Santiago as early as 1993 and appears to have been created by him, the Ofiice
would have refused the 2016 registration of that work, because Steven Argento was not the
person who created the work, and this case does not implicate the question of authorship in a
situation involving a work made for hire.

The Office notes, however, that it is not unusual for the examiner to correspond with an applicant
about factual assertions if the assertions appear to conflict with other information provided in the
application materials.'° Accordingly, if the Office becomes aware of an error at the time of
application, such as whether the work was published, or has questions about facts asserted in the
application, it provides the applicant an opportunity to correct the error or verify the facts within
a specified period oftime.ll If the applicant responds in a timely fashion to the satisfaction of
the Ofiice, the 0ffice can proceed with the registration. The Acting Register’s response herein is

 

° 17 u.s.c. § 409(2).
7 CoMPENDtuM (THIRD) § 405; see also CoMl>ENDlUM (TH!RD) § 613.1.
3 37 c.F.R. § 202.3(¢)(2)(iii).
?°coni>enmum (rmm))§ 602.4(€).

Id.
" Generally, in responding to questions from the Oftice concerning issues in the application materials, “the deadline
for responding to an entail from a registration specialist is forty-five calendar days," id. § 605.6(B), and “[t]he
deadline for responding to a letter from a registration specialist is forty-five calendar days," id. § 605.6(D).

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thus based on the assumption that the error identified in the Court’s question would not have
been timely corrected through such a process.

Dated: January 19, 2018

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/'Karyn Temple Claggett "~///
Acting Register of Copyrights

